Case 2:04-CV-02916-BBD-tmp Document 6 Filed 04/26/05 Page 1 of 9 Page|D 5

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

DEWAYNE M. JONES,
Piaintiff,

vs. No. 04~2916~D/P

OFFICER J. WARD, et al.,

Defendants.

>-<>-<>-<>-<>-<>-<>-<>-<><>-<>-<

 

ORDER ASSESSING $lSO CIVIL FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Dewayne M. Jones, RNI number 264009, an inmate at
the Shelby County Detention Center (“SCDC")l in Memphis, filed a pro
§§ complaint pursuant to 42 U.S.C. § 1983 on November lO, 2004. The
Court issued an order on February 22, 2005 directing the plaintiff,
within thirty {30) days, to comply with the Prison Litigation Reform
Act of 1995 (“PLRA”), 28 U.S.C. § 1915(a)-(b), or pay the $l50 civil
filing fee. Plaintiff filed the appropriate documentation on March 8,
2005. The Clerk shall record the defendants as Officer J. Ward,

Sergeant C. Benscn, and Shelby County.2

 

1 The word “prison” is used in this order to refer to all places of
confinement cr incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

2 The Court construes the plaintiff’s allegations against the SCDC as
an attempt to assert a claim against Shelby County. Also, although the plaintiff
(continued...)

  

Th\’s document entered on the docket sheet Ir; coYIanca
wmemeSBanmbr?Sw)FHCPon l '

Case 2:04-CV-02916-BBD-tmp Document 6 Filed 04/26/05 Page 2 of 9 Page|D 6

I. Assessment of Filing Fee

Under the PLRA, 28 U.S.C. § l915(b), all prisoners bringing
a civil action must pay the full filing fee of $150 required by 28
U.S.C. § l9l4(a).3 The in forma pauperis statute, 28 U.S.C. § 1915(a),
merely provides the prisoner the opportunity to make a “downpayment”
of a partial filing fee and pay the remainder in installments.

In this case, plaintiff has properly completed and
submitted both an in forma pauperis affidavit containing a
certification by the trust fund officer and a trust fund account
statement. Pursuant to 28 U.S.C. § lQlE(b)(l), it is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out this
order. lt is further ORDERED that the trust fund officer at
plaintiff’s prison shall calculate a partial initial filing fee egual
to twenty percent (20%) of the greater of the average balance in or
deposits to the plaintiff’s trust fund account for the six months
immediately preceding the completion of the affidavit. When the
account contains any funds, the trust fund officer shall collect them
and pay them directly to the Clerk of Court. lf the funds in
plaintiff's account are insufficient to pay the full amount of the
initial partial filing fee, the prison official is instructed to
withdraw all of the funds in the plaintiff's account and forward them

to the Clerk of Court. On each occasion that funds are subsequently

 

2 (...continued)
repeatedly uses the designation “et al.” in his listing of defendants, the Court
will not speculate about the identity of any other individual or entity the
plaintiff intends to sue.

3 Because this action was filed prior to March 7, 2005, the new $250
civil filing fee is inapplicable.

Case 2:04-CV-02916-BBD-tmp Document 6 Filed 04/26/05 Page 3 of 9 Page|D 7

credited to plaintiff’s account the prison official shall immediately
withdraw those funds and forward them to the Clerk of Court, until
the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff’s account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds $10.00, until the entire $150.00 filing
fee is paid.

Each time that the trust fund officer makes a payment to
the Court as required by this order, he shall print a copy of the
prisoner’s account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff’s name and the case number on
the first page of this order.

If plaintiff is transferred to a different prison or
released1 he is ORDERED to notify the Court immediately of his change
of address. lf still confined he shall provide the officials at the
new prison with a copy of this order.

If the plaintiff fails to abide by these or any other

requirement of this order, the Court may impose appropriate

Case 2:04-CV-02916-BBD-tmp Document 6 Filed 04/26/05 Page 4 of 9 Page|D 8

sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff’s
prison. The Clerk is further ORDERED to forward a copy of this order
to the Director of the SCDC to ensure that the custodian of the
plaintiff's inmate trust account complies with that portion of the
PLRA pertaining to the payment of filing fees.

The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. § 1915(e)(2).
The Clerk shall not issue process or serve any papers in this case.
11. Analvsis of Plaintiff’s Claims

The complaint alleges that, on July 4, 2004, defendant Ward
deliberately slammed the door of the plaintiff's cell on his hand,
causing physical injuries. Defendant Benson is sued as the supervisor
of defendant Ward. The plaintiff seeks money damages and the filing
of criminal charges against the defendants.

The Sixth Circuit has held that 42 U.S.C. § l997e(a)
requires a federal court to dismiss a complaint without prejudice
whenever a prisoner brings a prison conditions claim without
demonstrating that he has exhausted his administrative remedies.
Brown v. Toombs, 139 F.3d 1102 (6th Cir. 1998); see Porter v. Nussle,
534 U.S. 516, 532 (2002) (“[T]he PLRA's exhaustion requirement
applies to all inmate suits about prison life, whether they involve
general circumstances or particular episodes, and whether they allege
excessive force or some other wrong.”); Booth v. Churner, 532 U.S.

731 (2001) (prisoner seeking only money damages must exhaust

Case 2:04-CV-02916-BBD-tmp Document 6 Filed 04/26/05 Page 5 of 9 Page|D 9

administrative remedies although damages are unavailable through
grievance system). This requirement places an affirmative burden on
prisoners of pleading particular facts demonstrating the complete
exhaustion of claims. Knuckles El v. Toombs, 215 F.3d 640, 642 (6th
Cir. 2000). To comply with the mandates of 42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and show

that they have been exhausted by attaching a copy of the

applicable administrative dispositions to the complaint or,

in the absence of written documentation, describe with

specificity the administrative proceeding and its outcome.
ld; at 642; see also Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002)
(prisoner who fails to allege exhaustion adequately may not amend his
complaint to avoid a sua sponte dismissal); Curry v. Scott, 249 F.3d
493, 503-04 (6th Cir. 2001) (no abuse of discretion for district
court to dismiss for failure to exhaust when plaintiffs did not
submit documents showing' complete exhaustion of their claims or
otherwise demonstrate exhaustion). Furthermore, § 199?(e) requires
the prisoner to exhaust his administrative remedies before filing
suit and, therefore, he cannot exhaust these remedies during the
pendency of the action. Freeman v. Francis, 196 F.3d 641, 645 (6th
Cir. 1999).

In this case, the plaintiff attached to the complaint a
handwritten document, entitled “Emergency Inmate Grievance
Complaint,” that is dated July 5, 2004, against defendants Ward and
Benson concerning this incident. On April 13, 2005, the clerk filed
a copy of an inmate grievance form that the plaintiff asserts he

completed on July 20, 2004 against defendant Ward concerning the

incident. The complaint alleges that plaintiff sent these documents

Case 2:04-CV-02916-BBD-tmp Document 6 Filed 04/26/05 Page 6 of 9 Page|D 10

“to the S.C.C.C.” He also sent the handwritten grievances to
Congressman Harold Ford, Jr. and Shelby County Mayor A.C. Wharton,
and to George Little, the Director of the SCDC. The complaint alleges
that the plaintiff was informed that his grievance needed to be
submitted to the Inmate Grievance Office for disposition, but the
complaint is silent as to whether the plaintiff ever submitted a
grievance to the appropriate office. Accordingly, the plaintiff has
not satisfied his knnxknl of demonstrating that he exhausted his
administrative remedies.

The Sixth Circuit has stated that “[a] plaintiff who fails
to allege exhaustion of administrative remedies through
‘particularized averments’ does not state a claim on which relief may
be granted, and his complaint must be dismissed ppa sponte.” Baxter,
305 F.3d at 489.4 Accordingly, the Court DISMISSES the plaintiff's
complaint in its entirety, without prejudice, pursuant to 42 U.S.C.
§ 1997e(a).

III. Appeal Issues

The next issue to be addressed is whether plaintiff should
be allowed to appeal this decision ip fp;ma pappp;i§. Twenty-eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip fp;ma
pauperis if the trial court certifies in writing that it is not taken

in good faith.

 

¢ As the Sixth Circuit explained, “If the plaintiff has exhausted his
administrative remedies, he may always refile his complaint and plead exhaustion
with sufficient detail to meet our heightened pleading requirement, assuming that
the relevant statute of limitations has not run.” ld;

6

Case 2:04-CV-02916-BBD-tmp Document 6 Filed 04/26/05 Page 7 of 9 Page|D 11

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldp Accordingly, it
would_ be inconsistent for' a district court to determine that a
complaint should be dismissed prior to service on the defendants, yet
has sufficient merit to support an appeal ip fp;ma pauperis. §ee
Williams v. Kullman, 722 F.Zd 1048, 1050 n.l (2d Cir. 1983). The same
considerations that lead the Court to dismiss this case for failure
to state a claim also compel the conclusion that an appeal would not
be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by plaintiff is not taken
in good faith and he may not proceed on appeal ip fp;ma pauperis.

The final matter to be addressed is the assessment of a
filing fee if plaintiff appeals the dismissal of this case.5 ln McGore
v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997), the Sixth
Circuit set out specific procedures for implementing the PLRA.
Therefore, the plaintiff is instructed that if he wishes to take
advantage of the installment procedures for paying the appellate
filing fee, he must comply with the procedures set out in McGore and

§ 1915(b).

 

5 Effective November 1, 2003r the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, l 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

Case'2 4- 916-BBD-tmp Document6 Filed 04/26/05 Page80f9 Page|D 12

p/’)H is so eastern this Q'{&"` day ar Aprii, 2005.

1

 

NITED STATES DISTRICT JUDGE

 

UNITED STATES DISTRICT OURT- WESTERNDISTRICT OF TENNESSEE

thice of Distribution

This notice confirms a copy cf the document docketed as number 6 in
case 2:04-CV-02916 Was distributed by fax, mail, or direct printing on
Apri127, 2005 to the parties listed.

 

 

Dewayne Jones

Shelby County Correction Center
264009

1045 Mullins Station Rd.
Memphis7 TN 38134

Honorable Bernice Donald
US DISTRICT COURT

